Case 1:11-cv-00093-JMF Document 1 Filed 01/14/11 Page 1 of 27
Case 1:11-cv-00093-JMF Document 1 Filed 01/14/11 Page 2 of 27
Case 1:11-cv-00093-JMF Document 1 Filed 01/14/11 Page 3 of 27
Case 1:11-cv-00093-JMF Document 1 Filed 01/14/11 Page 4 of 27
Case 1:11-cv-00093-JMF Document 1 Filed 01/14/11 Page 5 of 27
Case 1:11-cv-00093-JMF Document 1 Filed 01/14/11 Page 6 of 27
Case 1:11-cv-00093-JMF Document 1 Filed 01/14/11 Page 7 of 27
Case 1:11-cv-00093-JMF Document 1 Filed 01/14/11 Page 8 of 27
Case 1:11-cv-00093-JMF Document 1 Filed 01/14/11 Page 9 of 27
Case 1:11-cv-00093-JMF Document 1 Filed 01/14/11 Page 10 of 27
Case 1:11-cv-00093-JMF Document 1 Filed 01/14/11 Page 11 of 27
Case 1:11-cv-00093-JMF Document 1 Filed 01/14/11 Page 12 of 27
Case 1:11-cv-00093-JMF Document 1 Filed 01/14/11 Page 13 of 27
Case 1:11-cv-00093-JMF Document 1 Filed 01/14/11 Page 14 of 27
Case 1:11-cv-00093-JMF Document 1 Filed 01/14/11 Page 15 of 27
Case 1:11-cv-00093-JMF Document 1 Filed 01/14/11 Page 16 of 27
Case 1:11-cv-00093-JMF Document 1 Filed 01/14/11 Page 17 of 27
Case 1:11-cv-00093-JMF Document 1 Filed 01/14/11 Page 18 of 27
Case 1:11-cv-00093-JMF Document 1 Filed 01/14/11 Page 19 of 27
Case 1:11-cv-00093-JMF Document 1 Filed 01/14/11 Page 20 of 27
Case 1:11-cv-00093-JMF Document 1 Filed 01/14/11 Page 21 of 27
Case 1:11-cv-00093-JMF Document 1 Filed 01/14/11 Page 22 of 27
Case 1:11-cv-00093-JMF Document 1 Filed 01/14/11 Page 23 of 27
Case 1:11-cv-00093-JMF Document 1 Filed 01/14/11 Page 24 of 27
Case 1:11-cv-00093-JMF Document 1 Filed 01/14/11 Page 25 of 27
Case 1:11-cv-00093-JMF Document 1 Filed 01/14/11 Page 26 of 27
Case 1:11-cv-00093-JMF Document 1 Filed 01/14/11 Page 27 of 27
